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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on Mach 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
V. MAGISTRATE NO. 22-MJ-00254 (GMH)
TYNG JING YANG, VIOLATIONS:
Defendant. . 18 U.S.C. § 231(a)(3)
: (Civil Disorder)

18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, Tyng Jing Yang, committed
and attempted to commit an act to obstruct, impede, and interfere with law enforcement officers

lawfully engaged in the lawful performance of their official duties incident to and during the

commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
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affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, in the District of Columbia, Tyng Jing Yang, did knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, Tyng Jing Yang, did knowingly,
and with intent to impede and disrupt the orderly conduct of Government business and official
functions, engage in disorderly and disruptive conduct in and within such proximity to, a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, Tyng Jing Yang, willfully and
knowingly engaged in disorderly and disruptive conduct within the United States Capitol Grounds

and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly
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conduct of a session of Congress and either House of Congress, and the orderly conduct in that
building of a hearing before or any deliberation of, a committee of Congress or either House of
Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, Tyng Jing Yang, willfully and
knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
